
RYDER, Acting Chief Judge.
Harold Edward Pelham seeks review of the judgment and sentence entered on a jury verdict finding him guilty of robbery with a deadly weapon, grand theft auto, kidnapping, sexual battery and sexual battery with a deadly weapon. Appellant’s convictions are affirmed.
However, appellant was sentenced as a habitual offender for the conviction of sexual battery with a deadly weapon which is a life felony. § 794.011(3), Fla.Stat. (1989). Because life felonies are not subject to habitual offender enhancement, Burdick v. State, 594 So.2d 267 (Fla.1992); Leaty v. State, 590 So.2d 512 (Fla. 2d DCA 1991); Lock v. State, 582 So.2d 819 (Fla. 2d DCA 1991), it was error to check the “habitual offender” box on the sentence form. Ac*582cordingly, the case is remanded to the trial court for correction of this scrivener’s error. See Power v. State, 568 So.2d 511 (Fla. 5th DCA 1990). Appellant’s sentence is otherwise affirmed.
Affirmed, but remanded.
CAMPBELL and ALTENBERND, JJ., concur.
